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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
                                                  §
VS.                                               §     CRIMINAL NO. H-11-165 (6 and 7)
                                                  §
                                                  §
SHAWN LEWIS WASHINGTON                            §
LISA WEISZ LIPTON                                 §

                                                ORDER

       Defendant Shawn Washington filed an unopposed motion for continuance and a request to

certify the case as complex, (Docket Entry No.190). Defendant Lipton and the government are

unopposed to the motion. The court finds that the interests of justice are served by granting this

continuance and that those interests outweigh the interests of the public and the defendants in a

speedy trial. The motion for continuance is GRANTED. This case was previously deemed complex

on June 29, 2011 so that request is moot. The docket control order is amended as follows:

       Motions are to be filed by:                     July 15, 2013
       Responses are to be filed by:                   July 29, 2013
       Pretrial conference is reset to:                August 5, 2013 at 8:45 a.m.
       Jury trial and selection are reset to:          August 12, 2013 at 9:00 a.m.


               SIGNED on March 25, 2013, at Houston, Texas.

                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         United States District Judge
